Case 4:18-cv-00099-GKF-FHM Document 76 Filed in USDC ND/OK on 04/22/19 Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA


   THE THOMAS L. PEARSON AND
   THE PEARSON FAMILY MEMBERS FOUNDATION,

                Plaintiff and Counterclaim
                Defendant,

         v.

   THE UNIVERSITY OF CHICAGO,

                Defendant and Counterclaimant.

     AND                                         No. 18-cv-99-GKF-FHM

   THE UNIVERSITY OF CHICAGO,

                Counterclaimant and Defendant,

         v.

   THE THOMAS L. PEARSON AND
   THE PEARSON FAMILY MEMBERS FOUNDATION,

                Counterclaim Defendant and
                Plaintiff,

   THOMAS L. PEARSON,

                Counterclaim Defendant.



              THE UNIVERSITY OF CHICAGO’S SUPPLEMENTAL REPLY IN
                 OPPOSITION TO PLAINTIFF’S MOTION TO COMPEL
Case 4:18-cv-00099-GKF-FHM Document 76 Filed in USDC ND/OK on 04/22/19 Page 2 of 7




   I.     The Foundation Has Failed to Identify Any Grant Agreement Provision That
          Supports Discovery of the University’s Faculty-Hiring Process

          At the March 13, 2019 hearing, the Court directed the Foundation to identify “what

   portions of the [G]rant [Agreement]” it contends would entitle it to discovery of the University’s

   faculty-hiring process. Dkt. No. 72, Tr. at 67:16-18. The Foundation’s supplemental brief,

   however, fails to identify any Grant Agreement provision that could entitle it to such discovery.

   The sole Grant Agreement provision the Foundation mentions—§ 3.8, which is referenced only

   in a footnote—does not relate to faculty hiring, but instead addresses the obligations of the

   Institute Director and Forum Director. See Foundation Suppl. Br. at 6 n.4; Dkt. No. 57-4, Grant

   Agreement, § 3.8.

          The Grant Agreement provision that does address faculty hiring, § 3.5(b), expressly

   precludes the Foundation and the Pearsons from “any role or authority” concerning faculty

   hiring. Dkt. No. 57-4, Grant Agreement § 3.5(b). The University insisted on this provision

   because the faculty-hiring process is at the core of the University’s academic mission. The

   integrity of the process depends upon candid, confidential faculty feedback. This contractual

   exclusion that the Foundation agreed to was designed to protect the faculty-hiring process from

   the kind of intrusion the Foundation now demands. Emails reflecting high aspirations for the

   Pearson Institute, including that it would become “world class,” do not somehow overcome the

   Foundation’s contractual agreement that it would have no role or authority in the appointment of

   faculty.

          Protecting the University’s faculty-hiring process from intrusion does not mean, as the

   Foundation contends, that the University “could essentially hire any individual off the street.”

   Dkt. No. 72, Mar. 13, 2019 Hrg. Tr. at 9:5-7. As discussed below, the Foundation can pursue its




                                                    1
Case 4:18-cv-00099-GKF-FHM Document 76 Filed in USDC ND/OK on 04/22/19 Page 3 of 7




   allegations challenging faculty qualifications through discovery of, and argument about, those

   qualifications, without invading the University’s faculty-hiring process.1

          The University does not seek “some sort of new privilege for the academic hiring

   process.” Foundation Suppl. Br. at 9. The University instead relies on the well-established

   heightened relevancy standard for the production of sensitive personnel information. Westport

   Ins. Corp. v. Hippo Fleming & Pertile Law Offices, 319 F.R.D. 214, 218 (W.D. Pa. 2017)

   (“Because there is a strong public policy against disclosure of personnel information, such

   requests are subject to a heightened relevancy standard.”); see also Regan-Touhy v. Walgreen

   Co., 526 F.3d 641, 648-49 (10th Cir. 2008) (Courts should “be cautious” about ordering

   production of personnel files). Especially in light of § 3.5(b) of the Grant Agreement and the

   implications for academic freedom at issue, the Foundation fails to meet that standard.

   II.    The Foundation’s Claims Do Not Require Production of Sensitive Information
          About the University’s Faculty-Hiring Process

          The Foundation’s complaint alleges three grounds for its challenge to the qualifications

   of Professors Dube and Blattman: (1) they were “junior, non-tenured professors,” (2) they are

   from institutions—Columbia and New York University—“that are ranked below the U of C in

   national academic standings,” and (3) they are “protégés” of Pearson Institute Director James

   Robinson. Dkt. No. 2, Compl. ¶¶ 28-34.

          The Foundation can continue to pursue discovery of these allegations as to the

   qualifications and credentials of the challenged faculty, the academic rankings of their prior


   1
     The Foundation asserts that the University’s production of the Shils Report, which describes
   faculty hiring standards, somehow compels it to produce confidential, sensitive faculty-hiring
   materials. The Foundation does not mention that when the University produced the Shils Report,
   which is publicly available and arguably responsive to the Foundation’s broad faculty-hiring
   requests, the University maintained its objection to producing confidential, sensitive faculty-
   hiring materials. The Foundation’s bootstrap argument is baseless.


                                                    2
Case 4:18-cv-00099-GKF-FHM Document 76 Filed in USDC ND/OK on 04/22/19 Page 4 of 7




   institutions, and their supposed prior relationships with Professor Robinson. None of these

   allegations depend on, require, or justify discovery into the University’s internal faculty-hiring

   process.

          The Foundation implicitly acknowledges that its contract claim does not justify the

   discovery it seeks as it now attempts to rely on a new articulation of its good faith and fair

   dealing claim. This does not change the conclusion. The Foundation’s complaint makes clear

   that its faculty-hiring allegations are part of the Foundation’s breach of contract claim. Dkt. No.

   2, Compl. ¶¶ 16, 28-34 (listing the “Failure to Hire Qualified Faculty” as an example of how the

   University allegedly “failed to perform [its] obligations under the Grant Agreement”).2 The

   Foundation saved its good faith and fair dealing claim from dismissal by arguing that the claim is

   based on different allegations than those underlying its breach of contract claims, including its

   faculty-hiring claim. See Dkt. No. 35, Foundation’s Resp. to Univ.’s Mot. to Dismiss at 22-23

   (arguing that its “breach of contract claim and breach of implied covenant claim have different

   factual bases and thus neither can be dismissed as duplicative”); Dkt. No. 46, Opinion and Order

   at 25 (denying the motion because the claim is “based on allegations different from those

   underlying the accompanying breach of contract claim”) (citations omitted). Having saved the

   good faith and fair dealing claim by its contention that the claim is not based on the faculty

   hiring and other contract allegations, the Foundation is judicially estopped from now arguing that

   the claim is based on the faculty-hiring allegations. See In re Kreutzer, 344 B.R. 634, 646 (N.D.

   Okla. 2006) (“When a party successfully maintains a position in a legal proceeding, he may not




   2
     See also Dkt. No. 2, Compl. at 15 (distinguishing the Foundation’s good faith and fair dealing
   allegations from the preceding sections, which allege breach of the “express terms of the grant
   agreement” and include the faculty-hiring allegations).


                                                     3
Case 4:18-cv-00099-GKF-FHM Document 76 Filed in USDC ND/OK on 04/22/19 Page 5 of 7




   later assume a contrary position, simply because his interests have changed . . . .”), aff’d, 249 F.

   App’x 727 (10th Cir. 2007).

             The new good faith and fair dealing theory fails for the additional reason that it would

   effectively contravene Grant Agreement § 3.5(b), which excludes the Foundation from a role in

   faculty appointments. See Houlahan v. Raptor Trading Sys., Inc., No. 16 CIV. 9620 (PGG), 2018

   WL 3231662, at *5 (S.D.N.Y. Feb. 12, 2018) (“[N]o obligation can be implied that would be

   inconsistent with others terms of the contractual relationship.”) (citations omitted).3

             The Foundation’s offer to accept redaction of names in internal hiring materials “while

   leaving in place other identifying information” would not protect the integrity of the faculty-

   hiring process. Foundation Suppl. Br. at 9. That other identifying information would breach the

   confidentiality of the process and threaten the candor upon which it depends. The Foundation

   makes clear that it would likely seek further review of information down the road, including

   depositions of those involved in the confidential review and evaluation process.

                                                 Conclusion

             For the reasons stated in its supplemental and opposition briefs, at the March 13 hearing,

   and above, the University respectfully requests that the Court deny the Foundation’s motion to

   compel discovery concerning the University’s evaluation of candidates for the Pearson Institute

   Chairs.



   3
     The Foundation argues that it should be allowed discovery to determine whether the University
   adhered to its hiring process. Foundation Suppl. Br. at 2. This argument is without merit. There
   is nothing in the Grant Agreement that requires the University to follow particular hiring
   procedures for the Pearson Institute faculty positions. Allowing the Foundation to second-guess
   the University’s hiring process—under the guise of a good faith and fair dealing claim—would
   provide the Foundation with “authority” over that process, contrary to § 3.5(b) of the Grant
   Agreement. Notably, the Foundation’s complaint does not allege that the University promised to
   use any particular hiring procedures in filling the Pearson Institute chair positions.


                                                      4
Case 4:18-cv-00099-GKF-FHM Document 76 Filed in USDC ND/OK on 04/22/19 Page 6 of 7




   Dated: April 22, 2019                       Respectfully submitted,

                                                /s/ Jeffrey A. Hall
   William S. Leach, OBA#14892                 Jeffrey A. Hall
   Jessica L. Dickerson, OBA#21500             Rebecca Weinstein Bacon
   McAfee & Taft, a Professional Corporation   Faye E. Paul
   Williams Center Tower II                    Taylor A.R. Meehan
   Two West Second Street, Suite 1100          BARTLIT BECK LLP
   Tulsa, Oklahoma 74103                       54 West Hubbard Street
   Telephone: (918) 587-0000                   Chicago, Illinois 60654
   Facsimile: (918) 599-9317                   t: (312) 494-4400
   Email: bill.leach@mcafeetaft.com            f: (312) 494-4440
           jessica.dickerson@mcafeetaft.com    jeffrey.hall@bartlit-beck.com
                                               rweinstein.bacon@bartlit-beck.com
                                               faye.paul@bartlit-beck.com
                                               taylor.meehan@bartlit-beck.com

                                               Andrew C. Baak
                                               BARTLIT BECK LLP
                                               1801 Wewatta Street, Suite 1200
                                               Denver, Colorado 80202
                                               t: (303) 592-3100
                                               f: (303) 592-3140
                                               andrew.baak@bartlit-beck.com

                                               Counsel for Defendant and Counterclaimant,
                                               The University of Chicago




                                               5
Case 4:18-cv-00099-GKF-FHM Document 76 Filed in USDC ND/OK on 04/22/19 Page 7 of 7




                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 22nd day of April, 2019, I electronically transmitted the
   attached document to the Clerk of Court using the ECF System for filing. Based on the records
   currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following
   registrants:

   P. Scott Hathaway
   Isaac R. Ellis
   4000 One Williams Center
   Tulsa, Oklahoma 74172
   Attorneys for Plaintiffs

                                                   /s/ Jeffrey A. Hall
                                                   Jeffrey A. Hall
